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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF PENNSYLVANIA


ANTOINETTE SUCHENKO,
                                                     No. 2:18-cv-00562-AJS
              Plaintiff,
      v.                                             LEAD CASE

ECCO USA, INC.,

              Defendant.


ANTOINETTE SUCHENKO,
                                                     No. 2:18-cv-00620-AJS
              Plaintiff,
vs.                                                  MEMBER CASE

WALTERS & MASON RETAIL, INC.,

              Defendant.


                                 NOTICE OF SETTLEMENT

       COMES NOW Plaintiff Antoinette Suchenko, by and through her undersigned counsel,

and hereby advises this Honorable Court she has reached an agreement in principle with

Defendant, Walters & Mason Retail, Inc. The parties are finalizing settlement and dismissal

documents, and expect to file the dismissal papers within thirty (30) days.

                                          /s/ Kevin W. Tucker
                                          Kevin W. Tucker
                                          Benjamin J. Sweet
                                          Carlson Lynch Sweet Kilpela & Carpenter, LLP
                                          1133 Penn Avenue, 5th Floor
                                          Pittsburgh, PA 15222
                                          T. (412) 322-9243

                                         Attorneys for Plaintiff
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                              CERTIFICATE OF SERVICE

      I, Kevin W. Tucker, hereby certify that on July 12, 2018, I caused a true and correct copy

of foregoing Notice of Settlement to be filed electronically and served via the Court’s ECF

system.


                                                  Respectfully Submitted,

                                            By: /s/ Kevin W. Tucker
                                                Kevin W. Tucker (PA Bar No. 312144)
